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                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLO RIDA

                             Case No.16-20887-Cr-SCO LA


  UNITED STATES OF AM ERICA

  V.

  DAM ON CO LEMA N,

                     Defendant.
                                           /

                            STIPULATED FACTUAL BASIS

        The United States and DAM O N CO LEM AN hereby stipulate and agree thathad

  this matter proceeded to trial, the United States would have o#ered evidence and

  testimony to establish the following factualbasis beyond a reasonable doubt:

        AtaIIrelevanttimes,DAMON COLEMAN (S'COLEMAN'')wasaCorrectionalOfficer
  em ployed by the FederalBureau ofPrisons,and working atthe FederalDetention Center

  in Miami,Florida ('FDC Miam i''),in Miami-DadeCounty,inthe SouthernDistrictofFlorida.
  O n June 2 and 3,2016,CO LEMAN was working as the CorrectionalOfficerassigned to

  the 10:00 p.m .to 6:00 a.m .shi
                                ftin Units-Eastin FDC M iam i.

        AtaIIrelevanttim es,FDC Miam iwas a Federalprison,and an institution andfacility

  in which persons were held in custody by direction of and pursuantto a contract or

  agreem entwith the Attorney Generalofthe United States. Units-EastatFDC M iam i

  housed fem ale inm ates and detainees.

        O n June 2 and 3,2016,E.C.was a fem ale person who held in custody atFDC
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  M iam iby direction ofand pursuantto a contractoragreem entwith the Attorney General

  of the United States. E.C.was housed alone in cellA03-020 in Unit s-East at FDC

  M iam i. E.C .was in officialdetention awaiting sentencing afterpleading guilty to Federal

  crim inalcharges,and she was underthe custodial,supervisory,and disciplinary authority

  ofCO LEMAN.

        O n June 3,2016,atapproxim ately 5:15 a.m .,CO LEMAN entered cellA03-020,

  and engaged in a sexualact with E.C. Specifically, COLEMAN engaged in vaginal

  intercourse with E.C.,by having his penis m ake contactwith E.C.'S vulva. COLEMAN

  thenejaculated on the blanketon E.C.'Sbed.
        After receiving inform ation from another inm ate about a possible relationship

  between CO LEMAN and E.C .,on June 22,2016,FDC officials questioned E.C.about

  CO LEMAN'S entry into hercellduring the m orning ofJune 3,2016. AfterE.C .stated

  thatCOLEMAN had engaged in the above-described sexualactwith heron the m orning




                        (Remainderofpage intentionally Ieftblank)
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  of June 3,2016,FDC officials retrieved the blanketthathad been in E.C.'S cell,DNA

  testing revealed,am ong otherthings,thatthere was a m ix ofCO LEMAN'S sem en and

  E.C.'S bodily fluids.

                                       BENJAM IN G .G REENBERG
                                       ACTING UNITED STATES ATTORNEY


  Dat
    e: J'
        //#'-'                   By: Edward N.#Stam m
                                       AssistantUnited States Attorney


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                                       Breezye Te aIr
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                                       Defendant
